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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION


                                               )
STEPHANIE B. HALL,                             )      Case No. 4:05CV00050
                                               )
              Plaintiff,                       )
                                               )              ORDER
v.                                             )
                                               )
WAL-MART STORES, INC.,                         )      By: Jackson L. Kiser
                                               )          Senior United States District Judge
              Defendant.                       )
                                               )
                                               )
                                               )
                                               )

       Before me now are Defendant Wal-Mart Stores, Inc.’s (“Defendant”) and Plaintiff

Stephanie B. Hall’s (Plaintiffs”) Motions in Limine. I base my rulings on each Motion for the

reasons stated in the Record and as ruled upon by me during the parties’ Pre-Trial Conference of

April 25, 2006.

       (1) Plaintiff’s Motion seeking to exclude any reference to collateral source payments is

SUSTAINED. Defendant’s Motion on this issue as it pertains to Plaintiff’s bankruptcy filing is

OVERRULED.

       (2) All of Plaintiff’s other Motions are OVERRULED.

       (3) Defendant’s Motion to exclude any reference to Plaintiff’s lost wage claim from her

former employer, Modern Woodmen of America, is OVERRULED.

       (4) Defendant’s Motion to exclude any reference to Defendant’s policies and procedures

is DISMISSED AS MOOT.

       (5) Both parties’ Objections to the other party’s pre-trial disclosures are DISMISSED AS
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MOOT.

       The Clerk is directed to send certified copies of this Order to all counsel of record.



Entered this 25th day of April, 2006.



                                                     s/Jackson L. Kiser
                                                      Senior United States District Judge
